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   _________________________________________________________________________________

                                                      SO ORDERED,



                                                      Judge Jason D. Woodard
                                                      United States Bankruptcy Judge


          The Order of the Court is set forth below. The case docket reflects the date entered.
   ________________________________________________________________________________

                    IN THE UNITED STATES BANKRUPTCY COURT FOR
                        THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                      CHAPTER 13 CASE NO.:
              KATRINA HALL                                                           18-12534-JDW

   AMENDED ORDER DIRECTING EMPLOYER TO WITHHOLD DEDUCTIONS FROM
          PAY AND DIRECTING PAYMENT TO CHAPTER 13 TRUSTEE

        The above-named Debtor(s) filed a Chapter 13 Petition on 6/29/2018, which subjected all of the
Debtor’s wages, salary, or commissions to the jurisdiction of the Court while this case is pending. The
employer of the Debtor is subject to orders from this Court directing the employer to withhold and remit
a certain amount of the Debtor’s wages to the duly appointed Chapter 13 Trustee pursuant to 11 U.S.C. §
1325(c) in order to fund the Debtor’s Chapter 13 case.

       IT IS, THEREFORE, ORDERED, that TCI AUTOMOTIVE, 151 INDUSTRIAL DRIVE, ,
ASHLAND, MS 38603, the employer of the Debtor, is hereby directed to pay to the Chapter 13
Trustee the sum of $ 685.50 BIWEEKLY commencing the next pay period following receipt of this
Order. All payments should be made payable to Locke D. Barkley, Chapter 13 Trustee, P.O. Box
1859, Memphis, TN, 38101-1859.

        IT IS FURTHER ORDERED, that TCI AUTOMOTIVE is hereby directed to withhold said
sum from the Debtor’s wages, after deducting the amount necessary to pay withholding and Social
Security taxes, pensions, union dues (if any), retirement contributions, or child support deductions, and
to remit said sum to the Chapter 13 Trustee.

       IT IS FURTHER ORDERED, that TCI AUTOMOTIVE shall immediately cease and
discontinue withholding and remitting any funds to pay any wage garnishments.

       IT IS FURTHER ORDERED, that TCI AUTOMOTIVE shall withhold and remit said sum to
the Chapter 13 Trustee until further order of this Court.

                                        ##END OF ORDER##
